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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                           FORT MYERS DIVISION

SCOMA CHIROPRACTIC, P.A., a
Florida         corporation,
individually   and  as   the
representative of a class of
similarly-situated persons,

            Plaintiff,

v.                                 Case No:   2:17-cv-183-FtM-99CM

ALL CARE CONSULTANTS, INC.,
a Florida corporation, JOHN
DOES 1-5, and LISA GOLDBERG,

            Defendants.


                                   ORDER

     This matter comes before the Court on plaintiff’s Notice of

Voluntary Dismissal (Doc. #20) filed on July 21, 2017, in response

to the Court’s Order to Show Cause (Doc. #19).       No answer or motion

for summary judgment has been filed by any defendant, therefore a

voluntary dismissal is appropriate and the Court will take no

further action on the Order to Show Cause.

     Accordingly, it is now

     ORDERED AND ADJUDGED:

     Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), this action is

DISMISSED   without   prejudice.     The   Clerk   shall   terminate   all
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previously scheduled deadlines and pending motions, and close the

file.

     DONE and ORDERED at Fort Myers, Florida, this            27th     day

of July, 2017.




Copies to: Parties of record




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